                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

 UNITED STATES OF AMERICA,                        )
                                                  )
                       Plaintiff,                 )
                                                  )
 v.                                               )          No. 3:10-CR-160
                                                  )
 DUSTIN MORGAN,                                   )          (VARLAN/GUYTON)
                                                  )
                       Defendant.                 )


                            REPORT AND RECOMMENDATION

                Counsel for Defendant Dustin Morgan, who has been appointed pursuant to the

 Criminal Justice Act, 18 U.S.C. § 3006A, has moved by way of his Motion to Declare Case Complex

 and Extended for Purpose of Additional Compensation and Interim Payments [Doc. 106], for a

 waiver of the case compensation maximum limit and for interim payment of attorney compensation.

 The Criminal Justice Act and the Guide to Judiciary Policy provides for a maximum compensation

 limit of $9,700 for each attorney in a non-capital case charging one or more felonies. 18 U.S.C. §

 3006A(d)(2) (providing that the case compensation maximums shall increase “simultaneously” with

 changes in the hourly rate); 7 Guide to Judiciary Policy, Chapter 2-Appointment and Payment of

 Counsel, §§ 230.23.10(h), 230.23.20(a) (hereinafter Guide). Payment in excess of the $9,700 limit

 may be allowed if the court certifies that the amount of the excess payment is necessary to provide

 fair compensation and the payment is approved by the chief judge of the circuit or his or her

 designee. 18 U.S.C. § 3006A(d)(3).

                In the present case, counsel requests that the case be declared extended and complex

 due to the number of Defendants involved and the complexity of the case, which involves a large

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 volume of discovery to review and requires an unusual amount of time to prepare for and conduct

 the trial of the case. Counsel asserts that the time necessary for preparation of pretrial motions and

 of the case as a whole has been abnormally lengthy due to these factors. He states that the trial of

 the case is estimated to take six weeks. He explains that the preparation of this case has and will

 greatly reduce the time he has available to devote to other parts of his law practice. Accordingly,

 counsel argues that the case qualifies as complex and that interim payments are warranted. The

 Government has not responded to this motion.

                The following regulation is pertinent to the question of whether or not the $9,700

 maximum on compensation should be waived:

                (a) Overview

                        Payments in excess of CJA compensation maximums
                        may be made to provide fair compensation in cases
                        involving extended or complex representation when
                        so certified by the court or U.S. magistrate judge and
                        approved by the chief judge of the circuit (or by an
                        active or senior circuit judge to whom excess
                        compensation approval authority has been delegated).

                (b) Extended or Complex Cases

                        The approving judicial officer should first make a
                        threshold determination as to whether the case is
                        either extended or complex.

                        -If the legal or factual issues in a case are unusual,
                        thus requiring the expenditure of more time, skill, and
                        effort by the lawyer than would normally be required
                        in an average case, the case is “complex.”

                        -If more time is reasonably required for total
                        processing than the average case, including pre-trial
                        and post-trial hearings, the case is “extended.”



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                (c) Determining Fair Compensation

                        After establishing that a case is extended or complex,
                        the approving judicial officer should determine if
                        excess payment is necessary to provide fair
                        compensation. The following criteria, among others,
                        may be useful in this regard:

                        -responsibilities involved measured by the magnitude
                        and importance of the case;

                        -manner in which duties were performed;

                        -knowledge, skill, efficiency, professionalism, and
                        judgment required of and used by counsel;

                        -nature of counsel’s practice and injury thereto;

                        -any extraordinary pressure of time or other factors
                        under which services were rendered; and

                        -any other circumstances relevant and material to a
                        determination of a fair and reasonable fee.

 7 Guide, Chapter 2, § 230.23.40. “Case compensation limits apply only to attorney fees.” 7 Guide,

 Chapter 2, § 230.23.10(d). There is no limit on the presiding judge’s authority to reimburse

 counsel’s expenses except as to compensation for investigators and other experts. 18 U.S.C. §

 3006A(e); 7 Guide, Chapter 2, §§ 230.23.10(d), 230.63.10.

                In this case, Defendant Morgan is charged [Doc. 77] with conspiring with three other

 named codefendants to distribute and to possess with intent to distribute controlled substances from

 May 2009 to December 14, 2010, during their operation of Breakthrough Pain Therapy Center.

 Defendant Morgan is also charged with the possession of a firearm in furtherance of a drug

 trafficking crime. Discovery in this case consists of 24 CD’s containing over 27,000 documents and

 recorded conversations. Counsel for Defendant Morgan states that the review of this discovery has


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 taken an inordinate amount of time. Additionally, counsel seeks to review patient files from

 Breakthrough Pain Therapy, which are in the possession of codefendants.

                This Court has declared [Doc. 37] the case to be “complex” for purposes of the

 Speedy Trial Act based upon the number of defendants involved in this case, the nature of the

 prosecution including the voluminous discovery, and the existence of novel questions of law raised

 in the pretrial motions. 18 U.S.C. § 3161(h)(7)(B)(ii). Presently pending before this Court are

 thirteen pretrial motions, four of which were filed by Defendant Morgan. With regard to Defendant

 Morgan, the Court finds that the preparation and litigation of the pretrial motions and trial

 preparation has required and will require “more time, skill, and effort” on the part of defense counsel

 than typically required in the average case, rendering the case “complex.” See 7 Guide, Chapter 2,

 §230.23.40(b). Moreover, this case has reasonably required more time for pretrial proceedings than

 the typical case, making it “extended.” See id.

                Because of the number of Defendants, the nature of the charges asserted in the

 indictment, and the extensive nature of the pretrial litigation in this case, it is the opinion of the

 undersigned that this case meets the definition of being both “complex” and “extended” as set out

 above and that excess payment may well be necessary to provide fair compensation to counsel. See

 7 Guide, Chapter 2, § 230.23.40(c). Of course, each voucher will be scrutinized by the Court and

 a determination will be made as to whether a fair and reasonable fee is claimed. The case is

 presently scheduled to be tried on September 11, 2012. It is also the Court’s opinion that it is

 necessary and appropriate to approve interim payments to counsel for fees and out-of-pocket

 expenses. See 7 Guide, Chapter 2,§ 230.73.10.

                For the reasons indicated, it is RECOMMENDED that the District Court sign and


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 forward the attached “Memorandum and Order Concerning Excess and Interim Payments” to the

 chief judge of the circuit or her designee. This procedure is approved in Chapter 2 and Appendix

 2C to the Guide to Judiciary Policy. If the chief judge or her designee approves the request, the

 regulations provide that the Court should then take the following steps:

                (1) The Memorandum and Order Concerning Excess and Interim
                Payments should be filed with the clerk; and

                (2) A copy of that document should also be sent to the CJA claims
                coordinator at the Criminal Justice Act Claims Section, Financial
                Management Division, Administrative Office, United States Courts.

 Also, counsel seeking excess and interim payments should take the following steps:

                (1) Form CJA 20 should be submitted with full documentation of all
                expenses claimed on the voucher;

                (2) A number should be assigned to each voucher processed for
                payment;

                (3) Item 19 of Form CJA 20 must be completed to indicate the time
                period covered by the voucher and whether it is for the final payment
                or for an interim payment; and

                (4) The final voucher should:

                       (a) set forth in detail the time and expenses claimed
                       for the entire case;

                       (b) reflect all compensation and reimbursement
                       previously received;

                       (c) show the net amount remaining to be paid; and

                       (d) be approved by the chief judge of the circuit or her
                       designee if the total claim for the case is in excess of
                       the statutory limits.

 7 Guide, Part A-Guidelines for Administering the CJA and Related Statutes, Appendix 2C.



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                                           CONCLUSION

                For the reasons stated herein, it is RECOMMENDED that the Motion to Declare

 Case Complex and Extended for Purpose of Additional Compensation and Interim Payments [Doc.

 106] be granted pursuant to the procedures in the Guide to Judiciary Policy and as set out above.1

                IT IS SO ORDERED.

                                                Respectfully submitted,


                                                     s/ H. Bruce Guyton
                                                United States Magistrate Judge




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          Any objections to this report and recommendation must be served and filed within fourteen
 (14) days after service of a copy of this recommended disposition on the objecting party. Fed. R.
 Crim. P. 59(b)(2) (as amended). Failure to file objections within the time specified waives the right
 to review by the District Court. Fed. R. Crim. P. 59(b)(2); see United States v. Branch, 537 F.3d
 582, 587 (6th. Cir. 2008); see also Thomas v. Arn, 474 U.S. 140, 155 (1985) (providing that failure
 to file objections in compliance with the required time period waives the right to appeal the District
 Court’s order). The District Court need not provide de novo review where objections to this report
 and recommendation are frivolous, conclusive, or general. Mira v. Marshall, 806 F.2d 636, 637 (6th
 Cir. 1986). Only specific objections are reserved for appellate review. Smith v. Detroit Federation
 of Teachers, 829 F.2d 1370, 1373 (6th Cir. 1987).

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